     Case 2:17-cv-07727-PSG-JEM Document 38 Filed 12/20/17 Page 1 of 3 Page ID #:302



      CHAD A. READLER
 1    Principal Deputy Assistant Attorney General
      SANDRA R. BROWN
 2
      Acting U.S. Attorney for the Central District of California
 3    JUDRY SUBAR
      Assistant Branch Director
 4    GARY FELDON, D.C. Bar No. 987142
      Trial Attorney
 5    United States Department of Justice
      Civil Division, Federal Programs Branch
 6
      20 Massachusetts Avenue NW
 7    Washington, D.C. 20530
      Telephone: (202) 514-4686
 8    Facsimile: (202) 616-8470
      Email: gary.d.feldon@usdoj.gov
 9

10    Attorneys for Defendants United States
      and Federal Aviation Administration
11

12                                     UNITED STATES DISTRICT COURT
13                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
       BARRY ROSEN, Individually and as a Private
15     Attorney General,                                             Case No. 2:17-cv-07727-PSG-JEMx

16         Petitioner and Plaintiff,                                 EX PARTE APPLICATION FOR EXTENSION
                                                                     OF TIME TO RESPOND TO PETITION
17              v.
18                                                                   Hon. Philip S. Gutierrez
       UNITED STATES GOVERNMENT, FEDERAL
19     AVIATION ADMINISTRATION, and CITY OF
       SANTA MONICA,
20
           Respondents and Defendants.
21

22

23

24

25

26

27
      Rosen v. United States, et al., No. 2:17-cv-07727-PSG-JEMx (C.D. Cal.)
28    Federal Defendants’ Ex Parte Application for Extension of Time to Respond to Petition            1
     Case 2:17-cv-07727-PSG-JEM Document 38 Filed 12/20/17 Page 2 of 3 Page ID #:303




 1      MEMORANDUM IN SUPPORT OF FEDERAL DEFENDANTS’ EX PARTE APPLICATION

 2                          FOR EXTENSION OF TIME TO RESPOND TO PETITION

 3

 4            Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), the Defendants United States and

 5    Federal Aviation Administration (collectively, the “Federal Defendants”) respectfully submit this Ex

 6    Parte Application for Extension of Time to Respond to Petition.

 7            Pro se Plaintiff Barry Rosen filed his (Verified) Petition for Writ of Mandate and Complaint for

 8    Declaratory and Injunctive Relief on October 23, 2017 (the “First Petition”). ECF No. 1. The U.S.
 9    Attorney’s Office for the Central District of California received a copy of the First Petition mailed on
10    October 24, 2017. Declaration of Gary D. Feldon (“Feldon Decl.”) ¶ 4. Plaintiff filed his (Verified) First
11    Amended Petition for Writ of Mandate and Complaint for Declaratory and Injunctive Relief (“Amended
12    Petition”) on November 15, 2017. ECF No. 28. The U.S. Attorney’s Office for the Central District of
13    California received a copy of the Amended Petition mailed on November 17, 2017. Feldon Decl. ¶ 4. If
14    service of both of those filings were effective, the Federal Defendants’ response would be due December
15    26, 2017. See Fed. R. Civ. P. 5(b)(2)(C); id. 12(a)(2); id. 15(a)(3).
16            The parties disagree, however, on when service on the Federal Defendants was effective. In an
17    abundance of caution, the Federal Defendants seek an extension by means of this ex parte application
18    because, if the filings were deemed properly served, there would be insufficient time to seek an

19    extension by noticed motion before a response would be due. Federal Defendants hereby ask the Court

20    to set the date for their response to the Amended Petition to February 9, 2017. If the Court grants this

21    application, the Federal Defendants will waive any arguments concerning the effectiveness of service of

22    the First or Amended Petitions.

23            The February 9 due date is necessary for new counsel on this matter to familiarize himself with

24    the issues in this case and adequately brief them for the Court. Feldon Decl. ¶¶ 7-9. Primary

25    responsibility for this case within the U.S. Department of Justice was reassigned to me from an attorney

26    in another division only last week. Id. ¶ 7. Although undersigned counsel is familiar with the facts of the

27    underlying settlement challenged in the Amended Petition, he is not yet familiar with the issues raised

28
      Rosen v. United States, et al., No. 2:17-cv-07727-PSG-JEMx (C.D. Cal.)
      Federal Defendants’ Ex Parte Application for Extension of Time to Respond to Petition                 1
     Case 2:17-cv-07727-PSG-JEM Document 38 Filed 12/20/17 Page 3 of 3 Page ID #:304




 1    by that pleading. Id.¶ 9. Counsel’s need for the additional time is compounded by his pre-existing case

 2    obligations and scheduled leave. Counsel is currently out of the office due to a hearing today in the

 3    Northern District of California and has three briefs on dispositive motions in other cases due between

 4    now February 16, 2018. Id. ¶ 7. Further, Counsel will be on already-scheduled leave from December 22,

 5    2017, through December 29, 2017. Id. ¶ 8.

 6            Co-Defendant the City of Santa Monica (“City”) consents to this ex parte application. ¶ 10.

 7    Although prior counsel for Federal Defendants spoke with Plaintiff concerning the substance of this

 8    application on December 12,19, and 20, Plaintiff has neither consented nor refused to consent the
 9    requested extension. Id. ¶ 8. 1
10            For the foregoing reasons, the United States requests an extension of time until February 9, 2018

11    for Federal Defendants to respond to the Amended Petition.

12                                                        Respectfully submitted,
13
      DATED: December 20, 2017                            CHAD A. READLER
14                                                        Principal Deputy Assistant Attorney General

15                                                        SANDRA R. BROWN
                                                          Acting U.S. Attorney for the Central District of California
16
                                                          JUDRY SUBAR
17                                                        Assistant Branch Director
18                                                         /s/ Gary D. Feldon
                                                          GARY D. FELDON (D.C. Bar No. 987142)
19
                                                          Trial Attorney
20                                                        U.S. Department of Justice
                                                          Civil Division, Federal Programs Branch
21                                                        20 Massachusetts Avenue, N.W.
                                                          Washington, DC 20530
22                                                        Telephone: (202) 514-4686
23                                                        Facsimile: (202) 616-8470
                                                          gary.d.feldon@usdoj.gov
24
                                                           Attorneys for Defendants United States and Federal
25                                                         Aviation Administration

26
      1
27     Plaintiff has provided the Court with the following contact information: Barry Rosen, 126 S. Clark Dr.
      #5, Los Angeles, CA 90048; Tel. 323-653-2043. ECF No. 1. The City has identified two possible email
28    addresses for Plaintiff (brcopysuit-court@yahoo.com; brcopyright@pacbell.net). See ECF No. 19-1 ¶ 8.
      Rosen v. United States, et al., No. 2:17-cv-07727-PSG-JEMx (C.D. Cal.)
      Federal Defendants’ Ex Parte Application for Extension of Time to Respond to Petition                      2
